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                               UNITED STATES DISTRICT COURT
                               SOUTEHRN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,                           CASE NO. 15-20403-CR-DIMITROULEAS

         Plaintiff,

  vs.

  OSCAR DAVID PULGARIN-GANAN,

        Defendant.
  _______________________________________/

                                              ORDER

         THIS CAUSE is before the Court on the Government’s Second, Joint Motion for

  Reduction of Sentence [DE-222], and the Court having considered the motion and being

  otherwise fully advised in the premises, it is hereby

         ORDERED AND ADJUDGED that the Motion [DE-222] is Granted. The sentence is

  reduced to time served with the same conditions of supervised release. A separate

  judgement/sentence will be entered.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  20th day of October, 2021.




  Copies furnished to:

  Counsel of Record

  U.S. Marshals
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